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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                )
UNITED STATES OF AMERICA        )
                                )
V.                              )       Crim. No. 15-cr-10271-WGY
                                )
ALEX LEVIN                      )
                                )


                 DEFENDANT’S ASSENTED-TO MOTION
     FOR BRIEF EXTENSION OF DATE TO FILE MOTION TO SUPPRESS


     The defendant, Alex Levin, moves that the Court extend the

filing date for his motion to suppress evidence from February 16

to February 18, 2016.

     1.   Defense counsel has been diligently researching and

preparing the defendant’s motion to suppress evidence. The

motion is based on complex search warrant issues that are novel

to counsel. In addition, counsel are attempting to reduce the

current length of the motion and simplify the argument.

     2.   The defendant submits that the additional time will

not harm the interests of justice, but rather promote them.

     3.   The government has assented to this motion through

Assistant United States Attorney David G. Tobin.

     WHEREFORE, the defendant moves that the Court extend the

filing date for his motion to suppress evidence from February 16

to February 18, 2016.



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                                    ALEX LEVIN
                                    By his attorneys,

                                    CARNEY & ASSOCIATES


                                    J. W. Carney, Jr.
                                    J. W. Carney, Jr.
                                    B.B.O. # 074760


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Dated: February 12, 2016


                         Certificate of Service

      I hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF) and paper copies will be sent to those
indicated as non-registered participants on or before the above date.

                                          J. W. Carney, Jr.
                                          J. W. Carney, Jr.




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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                )
UNITED STATES OF AMERICA        )
                                )
V.                              )       Crim. No. 15-cr-10271-WGY
                                )
ALEX LEVIN                      )
                                )


                      AFFIDAVIT SUPPORTING
                 DEFENDANT’S ASSENTED-TO MOTION
     FOR BRIEF EXTENSION OF DATE TO FILE MOTION TO SUPPRESS


     I, J. W. Carney, Jr., state that the facts contained in the

attached motion are true to the best of my information and

belief.

     Signed under the penalties of perjury.




                                        J. W. Carney, Jr.
                                        J. W. Carney, Jr.




Dated: February 12, 2016




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